
In re English, Claude; — Plaintiff; Applying for Supervisory and/or Remedial *1001Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. B, No. 4-99-169; to the Court of Appeal, First Circuit, No. 2004-KW-0373.
Writ granted in part; otherwise denied. The district attorney is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, Section 3; R.S. 44:31; R.S. 44:31.1; State ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
WEIMER, J., recused.
